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                                                                                                       F   t:-.   [-i-r
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                                                                                         ti   -1iil'   -'*          1""'

                        IN THE TINITED STATES DTSTRICT COURT
                                                                                           i.: i':?ii-i'i':i              '-,
                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF            AMERTCA,                  )

               Plaintiff,                                  .RTMTNAL        *o. 2J     Cel4 V f,-J-
         vs.

MUNDO CHARLES BARELA,

               Defendant.

                                         PLEA AGREEMENT

      pursuant to Federal Rule of Criminal Procedure I       l(cXl)(C), the parties hereby notiff the

Court of the following agreement between the United States Attomey for the District
                                                                                    of New

Mexico, the defendant, MUNDO CHARLES BARELA, and the defendant's counsel,
                                                                          DANIEL

RUBIN:

                               REPREf,ENTATION BY COLINSE!

       l.      The defendant understands the defendant's right to be represented by an attomey

and is so represented. The defendant has thoroughly reviewed         all   aspects   of this case with the

defendant,s attorney and is   fully satisfied with that attomey's legal representation'

                                  RIGHTS OF THE DEFENDANT

       2.      The defendant further understands the following rights:

               a.      to be charged and prosecuted by indictment;

               b.      to plead not guiltY;

               c.      to have a trial   bY   jury;

                       to confront and cross-examine witnesses and to call witnesses to testiff
                                                                                                for
               d,
                       the defense; and

               e.       against compelled self-incrimination.
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                        WAIVER OF RI-GHTS AND PLEA OF GUILTY

       3.      The defendant hereby agrees to waive these rights and to plead guilty to the

Information charging a violation of l8 U.S.C. $$ l1 52 and ll12(a): Voluntary Manslaughter.

                                 ELEME}ITS OF THE OFFENSE

       4.      The elements    of l8 U.S.C. $$ 1152 and I I l2(a), Voluntary Manslaughter, are:

               a.      Defendant killed John Doe;

               b.      Defendant acted rurlawfully;

               c.      Defendant acted upon a sudden quarrel or in the heat of passion, and
                       therefore without malice;

               d.      The victim is an Indian; and

               e.      The killing took place within Indian Country.

                                          SENTENCING

       5.      The defendant understands that the minimum and mo<imum penalty the Court can

impose as to both counts is:

               a.      imprisonment for   a   period of up to 15 years;

               b.      a fine not to exceed $250,000.00;

               c.      a mandatory term  of supervised release of not more than three years. Qf the
                      defendant serves a term of imprisonment, is then released on supervised
                      release, and violates the conditions of supervised release, the defendant's
                      supervised release could be revoked--even on the last day of the term*and
                      the defendant could then be retumed to another period of incarceration and
                      a new term ofsupervised release);

               d.      a mandatory special penalty assessment      of $100.00;

               e.      restitution as may be ordered by the Court.

       6.      The parties are aware that the Court may accept or reject this plea agreement, or

may defer its decision as to acceptance or rejection until there has been an opportunity to consider
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the presentence report. Pursuant to Federal Rule of Criminal Procedure              ll(c)(s), if the Court

rejects this plea agreement, the defendant shall have the right to withdraw Defendant's plea             of

guilty.

           7   .   The United States hereby expressly reserves the right to make known to the United

States Probation     Office and to the Court, for inclusion in the presentence report prepared pursuant

to Federal Rule of Criminal Procedure 32, any information that the United States believes may be

helpful to the Court, including but not limited to information about any relevant conduct under

ussc      $ 1B1.3.

          8.       Except under circumstances where the Court, acting on its own, fails to accept this

plea agreement, the defendant agrees that, upon the defendant's signing of this plea agreement, the

facts that the defendant has admitted under this plea agreement as set forth below, as well as any

facts to which the defendant admits in open court at the defendant's plea hearing, shall be

admissible against the defendant under Federal Rule of Evidence 801(dX2)(A) in any subsequent

proceeding, including a criminal trial, and the defendant expressly waives the defendant's rights

under Federal Rule of Criminal Procedure I I (f) and Federal Rule of Evidence 4 10 with regard to

the facts the defendant admits in conjunction with this plea agreement.

                                DEFENDANT'S ADMISSION OF FACTS

          9.       By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty ofthe offense(s) to which I am pleading guilty. I recognize and

accept responsibiliry      for my criminal conduct. Moreover, in pleading guilty, I acknowledge that

if I   chose to go to   trial instead of entering this plea, the United States could prove facts suffrcient

to establish my guilt of the offense(s) to which I am pleading guilty beyond a reasonable doubt,

including any facts alleged in the Information that increase the statutory minimum or maximum
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penalties. I specifically admit the following facts related to the charges against me, and declare

under penalty of perjury that all of these facts are true and correct:

           On or about July 20, 2020, Mundo Charles Barela unlawfully killed John Doe
           upon a sudden quarrel and in the heat of passion. The defendant caused John
           Doe's death by stabbing John Doe in the throat, chest, and abdomen. This took
           place within the exterior boundaries of the Mescalero Apache Reseryation in
           Otero County, New Mexico. The victim is an enrolled member of the
           Mescalero Apache Tribe.

           10.      By signing this agreement, the defendant admits that there is a factual basis for each

element of the crime(s) to which the defendant         will   plead   guilty. The defendant   agrees that the

Court may rely on any of these facts, as well as facts in the presentence report, to determine the

defendant's sentence, including, but not limited to, the advisory guideline offense level.

                                              STIPULATIONS

           I   l.   The United States and the defendant stipulate as follows:

                    a.     The defendant and the United States agree, pursuant to Federal Rule of

Criminal Procedure I l(c)(1XC) that a specific sentence of not Iess than 84 months imprisonment,

and not more than 108 months imprisonment, is the appropriate sentence in this case. This

agreement takes into account the Defendant's acceptance of responsibility, and any discharged

term of imprisonment under USSG $ 5K2.23, with no further offense level reductions to occur.

The remaining components of the defendant's sentence, including but not limited to any flne or

restitution and the length and conditions of supervised release, shall be imposed by the Court after

the presentation of evidence and/or argument by the parties.

                                              RESTITUTION

           L2.      The defendant understands that restitution is this case is mandatory, pwsuant to      l8

U.S.C. $       36634. The defendant understands that an unanticipated amount of a restitution order

will not   serve as grounds to withdraw the defendant's guilty plea. The defendant further agrees to
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comply with any restitution order entered into at the time of sentencing. The defendant further

agrees that the defendant   will not   seek the discharge of any restitution obligation, in whole or in

part, in any present or future bankruptcy proceeding. The defendant agrees to make full restitution

for the provable losses caused by the defendant's activities. The defendant further agrees to grant

the United States a wage assignment, liquidate assets, or complete any other tasks which       will result

in immediate payment in full, or payment in the shortest time in which full payment can                be

reasonably made as required under 18 U.S.C. $ 3572(d).

                                 DEFENDANT' S OBLIGATTONS

        13.    The defendant understands the defendant's obligation to provide the United States

Probation Office with truthful, accurate, and complete information, including, but not limited to

defendant's true identity, citizenship status, and any prior criminal convictions. The defendant

hereby represents that the defendant has complied with and            will continue to comply with this

obligation. The defendant understands that any misrepresentation with respect to the above

obligations may be considered a breach of this plea agreement.

        14.    By signing this plea agreement, the defendant waives the right to withdraw the

defendant'spleaof guiltypursuanttoFederalRuleof CriminalProcedure 11(d)unless: (t)the

court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure I l(c)(5) or (2) the

defendant can show a fair and just reason as those terms are used in Rule I I (dX2)(B) for requesting

the withdrawal. Furthermore, defendant understands that        if   the court rejects the plea agreement,

whether or not defendant withdraws the guilty plea, the United States is relieved of any obligation

it had under the agreement and defendant shall be subject to prosecution for any federal, state, or

local crime(s) which this agreement otherwise anticipated would be dismissed or not prosecuted.
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                                  WAIVER OF APPEAL RIGHTS

        15.     The defendant is aware that 28 U.S.C. $       l29l and 18 U.S.C. 5 3742 afford       a

defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the

defendant knowingly waives the right to appeal the defendant's conviction and any sentence,

including any fine, at or under the maximum statutory penalty authorized by law, as well as any

order of restitution entered by the Court. In addition, the defendant agrees to waive any collateral

attack to the defendant's conviction and any sentence, including any fine, pursuant to 28 U.S.C. $$

224L,2255, or any other extraordinary writ, except on the issue of counsel's ineffective assistance.

                                GOYERNMENT'S AGREEMENT

        16.     Provided that the defendant fulfills the defendant's obligations as set out above, the

United States agrees not to bring additional criminal charges against the defendant arising out of

the facts forming the basis of the present Information.

        17.    This agreement is limited to the United States Attorney's Office for the District of

New Mexico and does not bind any other federal, state, or local agencies or prosecuting authorities.

                                       VOLTINTARY PLEA

        18.    The defendant agrees and represents that this plea of guilty is freely and voluntarily

made and is not the result of force, threats or promises (other than the promises set forth in this

plea agreement and any addenda). The defendant also represents that the def'endant is pleading

guilty because the defendant is in fact guilty.

                             VIOLATION OF PLEA AGREEMENT

        19.    The defendant understands and agrees that       if the defendant or the defendant's
attorney violates any provision of this plea agreement, the United States may declare this plea

agreement   null and void, and the defendant will thereafter be subject to prosecution for       any
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criminal violation including, but not limited to, any crime(s) or offense(s) contained in or related

to the charges in this case, as well as perjury, false statement, and obstruction ofjustice, and any

other crime committed by the defendant during prosecution of this case.

                                      SPECIAL ASSESSMENT

       20.     At this time of sentencing, the      defendant   will tender a money order or certified

check payable to the order of the United States District Court, District of New Mexico, 333 Lomas

Boulevard, NW, Albuquerque, New Mexico 87102, in the amount of $100.00 in payment of the

special penalty assessment described above.

                                 ENTIRETY OF AGREEMENT

       21.     This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so      in writing and signed by all parties. The parties agree

and stipulate that this agreement   will   be considered part of the record of defendant's guilty plea

hearing as if the entire agreement had been read into the record of the proceeding. This agreement

is effective upon signature by the defendant and an Assistant United States Attorney, and upon

entry of a guilty plea by the defendant pursuant to this agreement.

       AGREED To AND SIGNED tni,              flfruyof        Decembe r,2020.

                                                         FRED J. FEDERICI
                                                         Acting United States A


                                                           ARON O. JORDAN
                                                         Assistant U.S. Attorney
                                                         200 N. Church Street
                                                         Las Cruces, NM 88001
                                                         (s7s) s22-2304 - Tel.
                                                         (575) 522-2391 - Fax
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        This agreement has been read to me in the language I understand best, and I have carefully
discussed every part of it with my attomey. I understand the terms of this agreement, and I
voluntarily agree to those terms. My attorney has advised me of my rights, of the elements of the
offense, of possible defenses, of the sentencing factors set forth in 18 U.S.C. $ 3553(a), of the
relevant sentencing guidelines provisions, and ofthe consequences of entering into this agreement.
No promises or inducements have been given to me other than those contained in this agreement.
No one has threatened or forced me in any way to enter into this agreement, Finalty, I am satisfied
with the representation of my attomey in this matter.



                                                      MUNDO        ARLES



        I am the attomey for MUNDO CHARLES BARELA. I have carefully discussed every
part of this agreement with my client. Further, I have fully advised my client of his rights, of the
elements of the offense, of possible defenses, of the sentencing factors set forth in 18 U.S.C. $
3553(a), ofthe relevant sentencing guidelines provisions, and ofthe consequences ofentering into
this agreement. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.


                                                        Pqr.d          t(^,[,rr.-
                                                     DANIEL RUBIN
                                                     Attorney for Defendant
